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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

                                        Wheeling Division

 UNITED STATES OF AMERICA

 v.                                                CaseNo.      5~~3 M3~ (O~)
 HARDY CARROLL LLOYD,

                    Defendant.

                                 AFFIDAVIT IN SUPPORT OF
                                  CRIMINAL COMPLAINT

       I, Matthew Messich, being first duly sworn, hereby depose and state as follows:

                       INTRODUCTION AND AGENT BACKGROUND

        1.     I make this affidavit in support of a Criminal Complaint alleging that the defendant,

HARDY CARROLL LLOYD, has violated 18 U.S.C. § 875(c), 18 U.S.C. § 1503(a), and 18

U.S.C. § 1512(b)(1).

       2.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”) assigned to

the FBI Pittsburgh Division~s Wheeling, West Virginia, Resident Agency in the Northern District

of West Virginia and have been so employed as a SA since September 2019. I presently am

assigned to work a variety of criminal and national security matters, including the investigation of

violent crimes and major offenses such as health care fraud, violent crimes against children, and

other violent criminal matters within the area of responsibility of the Wheeling RA. During my

training at the FBI Academy, Quantico, Virginia, as well as on the job experience, I have received

training in a variety of investigative and legal matters, including the topics of Fourth Amendment

searches, the drafting of search warrant affidavits, and probable cause.
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       3.             The facts in this affidavit come from my personal investigation and observations,

my training and experience, and information obtained from other agents and witnesses. This

affidavit is intended to show simply that there is sufficient probable cause for this Criminal

Complaint and the requested arrest warrant and does not set forth all of my knowledge about this

matter. I have set forth only the facts I believe are necessary to establish probable cause that the

defendant has violated 18 U.S.C. § 875(c), 18 U.S.C. § 1503(a), and 18 U.S.C. § 1512(b)(1).

                                          RELEVANT STATUTES

       4.             Title 18, United States Code, Section 875 prohibits a person from transmitting in

interstate commerce a threatening communication. A threatening statement must amount to a “true

threat” rather than mere political hyperbole or ideal chatter. True threats have been characterized

by the Supreme Court of the United States as statements made by a speaker who means to

communicate a serious expression of an intent to commit an act of unlawful violence to a particular

individual or group.


       5.             Title 18, United States Code, Section 1503 prohibits, among other things,

“corruptly.   .   .   endeavor[ing] to influence, obstruct, or impede the due administration ofjustice.”

       6.             Title 18, United States Code, Section 15 12(b)(1) prohibits, among other things,

knowingly attempting to use intimidation “with intent to influence, delay, or prevent testimony of

any person in an official proceeding.”

                                            PROBABLE CAUSE

       7.             As detailed below, the FBI’s investigation has revealed that HARDY CARROLL

LLOYD has corruptly endeavored to influence, obstruct, and impede the due administration of

justice in United States ofAmerica v. Robert Bowers, Criminal No. 18-292, in the United States
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District Court for the Western District of Pennsylvania by engaging in threatening conduct directed

at the jury and government witnesses, as described more fully below.

       8.         Bowers was charged with several federal crimes for fatally shooting 11 individuals

at the Tree of Life synagogue in Pittsburgh in 2018. Jury selection began on April 24, 2023. The

jury returned a verdict of guilty on June 16, 2023. The penalty phase began on June 26, 2023, to

determine whether Bowers would receive the death penalty. On July 13, 2023, the jury found

Bowers eligible for the death penalty. On August 3, 2023, Bowers was sentenced to death.

                                YouTube Comments Made by LLOYD

       9.         On March 21, 2023, Google contacted the FBI about certain troubling comments

made to YouTube by usemame “Reverend Lloyd.”

       10.        Google provided subscriber information for the account, which revealed the

following:

             a. LLOYD is the subscriber.

             b. A specified Gmail account as the associated email address.

             c. LLOYD was a resident of Pittsburgh, Pennsylvania and Austin, Texas, which

                  information was listed in Google Wallet for the user.

             d. A phone number ending 8244.

             e. LLOYD has a YouTube Channel, and his YouTube display name is “Reverend

                  Lloyd, PM.”

             f.   The YouTube account was created on October 6, 2020.

             g. There were logins to the account in 2023 on February 23, 24, 25, 26, 27, and March

                  2,3,4,7,8,9,11,13,15,16,17, 18,20,and2l.
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       11.        In addition to the subscriber information, Google also shared several comments

made by “Reverend Lloyd, PM” on YouTube, as documented below, in relevant part:

             h. Date: 2023-02-25 23:12 UTC; Comment Text: See my website, I openly advocate

                  killing jews and cops. WWW.CREATIVITYRELIGION.COM

             i.   Date: 2023-03-16 00:58 UTC; Comment Text: If you have the names and home

                  addresses of the CEOS and cops and feds who were behind this send to us and we’ll

                  dox them on our website!! WWW.CREATIVITYRELIGION.COM

             j.   Date: 2023-03-16 01:20 UTC; Comment Text: We must start killing jews now!!

             k. Date: 2023-03-16 01:31 UTC; Comment Text: I only fear that the jews will win.

                  We must start killing jews now.

             1.   Date: 2023-03-16 0 1:33 UTC; Comment Text: @Jupiter Five Wait, do you mean

                  should we kill negroes? Sure. But the jews run the world, so they need to be targeted

                  first. Negroes are just beasts....

             m. Date: 2023-03-16 02:04 UTC; Comment Text: Kill the trannies and jews!! Die

                  faggot scum!! Learn the White Man’s TRUE Religion, CREATIVITY, at

                  WWW.CREATIVITYRELIGION.COM

                  HTTPS ://WWW.CHURCHOFBENKLASSEN.ORG

             n. Date: 2023-03-16 02:06 UTC; Comment Text: WHITE POWER, girl!! Preach the

                  truth!!    Kill    all    transvestites   and    shemale     paedophile      freaks!!

                  WWW.CREATIVITYRELIGION.COM

             o. Date: 2023-03-16 02:11 UTC; Comment Text: We need to start killing trannies!!
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             p. Date: 2023-03-16 02:11 UTC; Comment Text: Protect White Women!! Murder

                  traimies and antifa!! Kill all transvestites and shemale paedophile freaks!!

                  WWW.CREATIVITYRELIGION.COM

             q. Date: 2023-03-16 02:11 UTC; Comment Text: Murder all tranns youth!!

             r.   Date: 2023-03-16 02:13 UTC; Comment Text: Kill all tranns!! Murder the

                  paedophiles!!    Kill   all    transvestites   and   shemale   paedophile    freaks!!

                  WWW.CREATIVITYRELIGION.COM

             s. Date: Mar 20, 2023 3:35 PM PDT; Comment Text: We need to ship the niggers

                  back to Afrika. And just kill all the kikes.

       12.        Throughout        the         comments,        LLOYD       frequently       mentions

WWW.CREATIVITYRELIGION.COM.

       13.        Investigators   have    visited   WWW.CREATIVITYRELIGION.COM,                 whose

headline is: “WELCOME TO THE CHURCH OF BEN KLASSEN (TCBK),” and beneath that,

“YOU SEEK TO END WHITE GENOCIDE? JOIN WITH THE ONLY WHITE CREED THAT

FIGHTS BACK!” TCBK was founded in 2003 by, “Rev. LLOYD to maintain the purity of the

religious teachings of our Holy Faith. Our beliefs are founded upon the White Racial Religion of

Creativity, which Ben Klassen created in 1973.” TCBK claimed not to promote white supremacy,

but rather advocated for complete racial separation. Your Affiant understands the “White Racial

Religion of Creativity” and TCBK to be an off branch of the “Creativity Movement,” which was

initiated in the 1 970s. Ben Klassen was heavily involved in the movement’s origins.

       14.        Review of WWW.CREATIVITYRELIGION.COM revealed an “enemies page,”

where LLOYD, seemingly, was publicly doxxing law enforcement and private citizens. Based on

my training and experience, I have learned that “doxxing” or being “doxxed” refers to the
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compilation and publication of personal information, including name, address, Date of Birth,

phone numbers, Social Security Number, possible embarrassing photos, and other identifying

information        often   for   the   purpose    of   harassing    or   intimidating    the     target.

WWW.CREATIVITYRELIGION.COM also included places of employment, and photos of the

children belonging to the people who go against his ideals.

          15.      The “enemies page” of WWW.CREATIVITYRELIGION.COM includes the

caveat:

          This page contains PUBLICLY GATHERED info, 90% off their own social media
          accounts, of known anti-White bigots and criminals. This info is posted, in keeping
          with US laws of Free Speech, for Lone Wolves. It is NOT illegal to post this info,
          nor to say it is for Lone Wolves. US law allows such speech. This would ONLY be
          illegal if we called for actual direct action against them. We are simply re-posting
          their own publicly posted info, and stating our OPINIONS for Lone Wolves. Which
          makes it 100% LEGAL!!

                FBI Corroborates LLOYD’s Connection to Follansbeeg West Virginia

          16.     During its investigation of LLOYD, in April 2023, the FBI learned that LLOYD

had a Post Office Box in Follansbee, West Virginia, he had a residence nearby to the post office,

he registered to vote in Brooke County, and he registered a vehicle with the West Virginia

Department of Motor Vehicles.

                      LLOYD Begins to Comment Online about Bowers Trial

          17.     On May 2, 2023, LLOYD began to comment online about the trial of Robert

Bowers. He made posts on www.creativityreligion.com and comments in emails associated with

the website and on the social media site VKonatkte, also known as VK.

          18.     On May 2, 2023, LLOYD posted on VK:
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             Church of Ben Klassen
             2 May at 8:39 pm
  Free Robert Bowers Target Pgh
                         -




  Even though I believe the ‘shooting was another false flag, I would LIKE to believe that a
  man with ZER PA documentation a existence dd gun down a dozen f lthy Jews. Our
  members n the Tn-State will be flyer ng Pg as a resu t. Jewhil and Fr ck Park will be
  littered with flyers and sUckers. We dd order a lot of those nice WH TE PEOPLE ROCK
  one& Love those! Oh, ya, wont it be fun when we target the ews!!

  RAHOWA
  www.crea vityreligion.coni
       19.     GPS location information for the cell phone of LLOYD, obtained via search

warrant, revealed that the phone was within an approximate four-mile or less proximity of

LLOYD’s residence on May 2, 2023.

      20.      On May 14, 2023, LLOYD posted on VK:

                          Church of Ben (lessen
                          14 May at 4.29 am
                  Free Robert Bowers Now!!

                  RAHOWA to All

                 The Pgh, PA Jew media is posting very little on Robert Bowers, the Great Lone Wolf on
                 Pgh who whacked 11 klkes lii JewNIll Some arpers cut there claim that this makes us
                 look bad. They say that even though we a e now iving in the TURNER OAR ES that we
                 still need to be ‘legal. What a buntch of pussies!i We need 10 support anyone who kills a
                 jaw. And since he killed 11 ylds we say NELL VA, FREETI-IIS GREAT MAN!! Lone Wolves
                 need to be honoured. And though we ques on ALL SHOOTINGS in the 21st Century, as
                 the jews Uke to make false flags I e Sandy Hook we will go wtth supporting ANY and
                 ALL White Warriors who gun down ews We want Wh tes to emulate these courageous
                 acts of heroism. So we raise a glass to Lone Wolf Hero Robert Bowers. We support you
                 Brother!!

                 Coincidental y, this was sed as the preteid tor kidnapping me in 2019 to prevent
                 another shooting of ewish people as quoted by Brokos, the Mossad kike dyke of Pgh’s
                 jew sh federation. Her info s listed be ow, and was added to the ENEM ES PAGE. Along
                 with a bunch of pica of her family and Jewy friends. All who live and work In Pgh/JFotP
                 Dont fuck with us Creators!i

                 RAHOWA
                 Rev. Ucyd, PM
                 church of Ben Klassen
                 svww creatvltyrel glon .com
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      21.     GPS location information for the cell phone of LLOYD, obtained via search

warrant, revealed that the phone was within an approximate four-mile or less proximity of

LLOYD’s residence on May 14, 2023.



      22.     On May 17, 2023, LLOYD posted on VK:


             Church of Ben Kiassen
             today at 3:45 am

    Robert Bowers Did Pgh A Favour. Any juror who fnds him guity is guity of anti-White
    racism!!




      23.     On May 17, 2023, LLOYD posted on VK:

      3 350 POSTS

             Rardy Lloyd
             :oday at 1018 pri
      FREE RICHARD BOWEFSr PCH. O~ ELSE THERE W L BE CONSIQUENCES I!.

       V
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               LLOYD Begins to Direct Online Comments toward Bowers Jury

         24.     On May 17, 2023, LLOYD made the following post to creativityreligion.com:

 B CHURCHOFBENKLASSEN                                WELCOME TO THE
                                                     CHURCH OF BEN
                                                     KLASSEN

                                                                 Robert Bowers
                                                                   Is A Hero!!
                                                      Any juror who finds him guilty
                                                      is An Anti-White Criminal And
                                                          To Be Treated As Such!!

       25.     On May 17, 2023, LLOYD sent an email to various Pittsburgh news outlets,

including KDKA and WPXI, and to others with email account names apparently indicating

adherence to the creativity movement, titled, “Stickering Pgh for Robert Bowers Trial”:

       We demand that Robert Bowers be freed. We shall be stickering, ‘legally’, Pgh
       starting next week and ending one week after the end of the trial. Stickers and
       flyers to go up in greater Pgh in support of Lone Wolf Hero Robert Bowers. We
       will also be publishing the PUBLIC names and addresses of those who vote against
       him via filing LEGALLY with the county seat for the trial records after the trial.
       Which is legal to do under PA law. Something for the people of Pgh to keep in
       mind as they vote on this great man. Remember, jurors, we WILL be watching and
       we WILL be taking pictures of ALL cars and people who leave the courthouse.
       And it’s 100% LEGAL to do this, too!! We will have members and supporters on
       the PUBLIC sidewalk and corners exercising their FREE SPEECH RIGHTS in
       taking photos of cars and people entering and leaving the courthouse, which is
       LEGAL to do from PUBLIC areas, as SCOTUS has ruled that there is no
       expectation of privacy when in public or from public spaces. SUCK IT!!

       Send donations for stickers and flyers to Reverend Lloyd via CashApp. Or send
       stickers from TightRope as a donation.

       26.     GPS location information for the cell phone of LLOYD, obtained via search

warrant, revealed that the phone was within an approximate four-mile or less proximity of

LLOYD’s residence on May 17, 2023.
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       27.       On May 18, 2023, LLOYD made a post to the “enemies” page of

creativityreligion.com, which included the following message:

              If anyone has the doxing Info, 4çg~y, for the 70 jurors on the Richard Bowers
              triaL In Pgh, send to us so we can ~g~y post said PUBLIC INFO as a usefuL
              guide to keep the triaL honest. Oh, and we WILL be fiLing at county records for
              their names and home/work addresses to LEGALLY POST after the triaL is over.
              Which is keeping with PA state Laws regarding doxlng of jurors post triaL via
              PUBLIC INFO!! Y’alL who are on the jury, make sure to vote what you know in
              your heart is moraLly correct.



               FREE RICHARD BOWERS, CITY OF PITTSBURGH OR
               ELSE THERE WILL BE ‘LEGAL’ CONSIQUENCES !!!
       28.       The May 18, 2023, post was made under the following caption:

             The Following People Are Anti-White Bigots Who Promote And/Or
             Commit Crimes Against Whites
             This page contaIns PUBLICLY GATHERED info. 90% off their own social media accounts, of known anti-
             White bigots and criminals. This info is posted, in keeping with US Laws of Free Speech, for Lone WoLves.
             It is NOT iLlegaL to post this info, nor to say it is for Lone Wolves. US Law allows such speech. This wouLd
             ONLY be iLLegaL if we called for actuaL direct action against them. We are simpLy re-posting their own
             publicly posted info, and stating our OPINIONS for Lone Wolves. Which makes it 100% LEGALII


       29.       On      May         19,     2023,        at     11:06       p.m.,       LLOYD            sent      an      email   to

creator8ll@protonmail.com, stating, “I wonder if this is because of my emails?” He included a

hyperlink to a cbsnews.com, titled “Jurors’ names in Pittsburgh synagogue shooting trial to be

sealed until verdicts,” which was released by KDKA News the same day at 9:19 p.m.

       30.       On May 19, 2023, at 11:08 p.m., LLOYD sent an email to various Pittsburgh news

outlets, including KDKA, WPXI, and WTAE, and to others with email account names apparently

indicating adherence to the creativity movement, stating:

       We will be filing for the names after the trial to publicly post on our enemies page
       in keeping with PA state law. We are allowed to post said info to LWs as part of
       1A protected speech. Those who vote against this great man must keep this in
       mind!!




                                                                 10
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        31.     On May 19, 2023, at 11:22 p.m., LLOYD sent an email to revcreator~yahoo.com,

copying various Pittsburgh news outlets, including KDKA, WPXI, and WTAE, with the subject

“Ouch,” stating:

       This woman was a juror on a case and voted against the defendant.
       After the trial some asshole posted her PUBLIC record onto social media.
       Bitch went to the grocery store.
       She never came home.
       Guess she should have voted the White way?!?

       Looks like it hurt.

       32.     Attached to the email was a photograph of a gunman shooting a woman in the face

from the first-person point of view of the gunman.

       33.     On    May       19,       2023,   at   11:23   p.m.,   LLOYD    sent   an   email   to

creator8ll@protonmail.com, stating, “I plan on filing for the names after the trial. Hope the jurors

get told that and vote the right way?!?”

              White Supremacy Themed Stickers, Bearing a LLOYD Web Address, Are
                                  Discovered in Pittsburgh

       34.     Between May 19 and 20, 2023, white supremacy themed stickers were found in

Pittsburgh, bearing the web address churchofbenklassen.org. Entering churchofbenklassen.org

into a web browser takes a visitor automatically to creativityreligion.com.           Following are

photographs of the stickers:




     OKAY
      10                                                              ChurchOfBenklassen ORG

      BE                             I
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       35.     The sticker with a swastika resulted in the following social media post:

                                  Sunday soccer with a side of white supremacy at the
                                  Schenley Ovai. White natlonatsts are busy getting their
                                  message of hate out- be iouder and busier. @citiparks

                                    U       LES
                                   •URCAR                     ~.



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                                       II,,: ~




                               IOIi.       [1Ti~’



       36.     The Google Drive for LLOYD’s Google account, referenced above, contained a

photograph, as of Google’s May 5, 2023 search warrant return, with a last modified date of March

11, 2023, which depicts an identical sticker with a swastika, as follows:




                  I           \
                                    \—------




       37.     On May 20, 2023, a citizen posted the following picture on REDDIT of a sticker

found the same day in the Oakland area of Pittsburgh. The sticker also bears the web address

chruchofbenklassen.org.
                                  So Sad to See This. Spotted Today at
                                  Bouievard+Dawson




                                                       ii I I ~E~I)N~’~          ~
                                                                                  /
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        38.     Comments on this post mentioned LLOYD, with one commenter stating: “Hardy

Lloyd is back in the area. Be very careful if you see him posting this stuff.”

        39.     License plate reader information shows that LLOYD’s vehicle was in the

Pittsburgh area on the evening of May 18, 2023, and the early morning hours of May 19, 2023, as

follows:

        Date: May 18, 2023, 11:00:43 PM; Camera: UNDERPASS LANES 2-3 Agh,
        Oakland, 5th Aye, N Craig St, Pittsburgh Pedestrian Bridge, Underpass, Lane 2,
        Lane 3

        Date: May 19, 2023, 2:42:22 AM; Camera: CRAIG ST INBOUND AT 5TH Agh,
        Oakland, 5th Aye, N Craig St, Pittsburgh Pedestrian Bridge

        40.     On May 24, 2023, LLOYD sent an email to several recipients, including

individuals with email account names apparently indicating adherence to the creativity movement

and/or who ascribe to white supremacist ideology, about an alleged police shortage in Pittsburgh,

making it vulnerable for lone wolf attacks. At the end of the message, LLOYD stated:

        By the way, great job on flyering the city, guys. REDDIT blew up over the last two
        weeks with all the flyering you have been doing. Keep it up.



       P.S. The anti-White bigots in Pgh on REDDIT are bitching about our members
       there passing our flyers. At least they showed one of the flyers. Same happened in
       Canada recently. One pic alone got fifteen thousand views. The pic posted on
       REDDIT claims it got 150,000 views!!!! Great job to all members and supporters
       no matter where you live.

       41.     GPS location information for the cell phone of LLOYD, obtained via search

warrant, revealed that the phone was within an approximate four-mile or less proximity of

LLOYD’s residence on May 24, 2023.

       42.     On May 25, 2023, jury selection in the Bowers case concluded, resulting in the

selection of 12 jurors and six alternates.
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       43.       On May 25, 2023, Imperva produced records regarding LLOYD’s website

www.creativityreligion.com, which included the following charts showing spikes of activity in

May 2023:

      Total visits 0
      55.62K 12% Human I 88% Bots
           000

           750
           500

           25:


                       6. Mar        20. Mar         3. Apr        17. Apr   1. May   15. May

           • Human     • Bots

   Total hits 0
    348.4K Avg. hits / sec 0.00                    >1000%

     20k
     15k
     10k

                                ~.   .~. ~     A   ___.~.    ~ ~             —


                     6 Mar      20 Mar              3. Apr         7. Ap     1 May     15 May

      • Human        • Bots • Blocked
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Requests ever this


Peak eqevis                                                                                                                                                                                   ArgWS    Isle
488




                                     —                                -                   -% — ,-;~. —                                                                              _~
                                                           —      —=~--~“        ~J       ~ ~


      1.11 r,,N   ~eu ‘t11 IIa2 vns v.se aid e~t 1.1; lid VJl~ 1111! 112~ Id;?   1,11 lIeu lii I~s ki   I   ~ ~cse’ v’~   bi   ci   1c11 ~;i ci~ 1~n v;i las VqlI’iiflOlUijl l~II lUll lLjl llIruvla.nui,l;

 I 14         hail    ji    Cai’.    ltc~i




                   44.               On May 28, 2023, LLOYD made the following post to creativityreligion.com:

                                    Richard Bowers TriaL:

                                    RAHOWA to aLL White Brothers and Sisters

                                    The monkey triaL of Lone Wolf Hero Richard Bowers starts Tuesday. The
                                    Ju~ç who’s names are sealed tILL the end of it aLl, was pooled from locaLs,
                                    when it shouLd have been held out of state. They picked 80 names after
                                    going through only 200 peopLe. 18 or 19 have been picked, but aLL wilL sit
                                    on the jury and then the finaL 12 wiLL be ‘hand picked’ to deliberate. Not
                                    even the jurors know who’s to make the finaL caLL interestingLy, the DA
                                    were the ones who struck off the lIst 4 niggers and a spic. interesting?
                                    Perhaps they realized that niggers and spics hate Jews more than they
                                    hate White peopLe?i?

                                    The monkey triaL is being heLd at the federaL courthouse, even though it’s
                                    a local crime. Yep, the same shit hole i had to go through. Not sure why?
                                    Perhaps they are afraid some local piggies might side with a couple of
                                    Lone Wolves and break Bowers out? Maybe worried that some Western PA
                                    locaLs are lust a bit Too rednecky? Maybe we WRL5 have more support in
                                    the sheeple community than we give ourselves credit for? Maybe all these
                                    right-wing losers are worrying the Jews? Something to think about

                                    Now, I stIll cannot find any actual sources on this man from a basic
                                    Internet search. Some Cricket player in England, or a DA In Pgh of all
                                    places, pops up in Internet searches for RICHARD BOWERS. But if we don’t
                                    stick up for those who have the courage to turn the TURNER DIARIES into
                                    a weapon of reaLity, then we have already Lost. And I am NOT ASHAMED to
                                    openly declare that, yes, I support the indiscriminate killing of mud scum!?
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          If it hadn’t of been for Holy Martyr Ben Smith, I would have never heard of
          Creativity and Matt HaLe. If it hadn’t of been for Holy Martyr Robert
          Mathews we wouLdn’t see that Lone Wolf acts work. If It hadn’t of been for
          HoLy Martyr Brian KozeL many young Whites wouLd assume that they
          personally could NEVER fight back against overwhelming odds. Lone
          WoLves are the reason we are still here. Lone Wolves are why we WILL
          win.

            And so we must support those Whites who strike back with righteous
            anger and furry against the JOG that seeks to ensLave and wipe out our
            race. Richard Bowers, we salute you!! Ben Smith, we salute youll Brian
            Kozel, we salute you!! Robert Mathews, we salute youll

            They plan on taring down the so-catted synagauge where the shooting
            happened. The new building will house a ‘memoriaL’ wing. loL

            The trial starts Tuesday, and our members In Ohio and PA have been
            flyering the Pgh area with Church flyers and TightRope stickers. The local
            ARA are bitching and moaning on REDDIT like there’s no tomorrow. I told
            our peopLe to double their efforts. The flyer drive for Western PA shall
            continue aLL Summer Long to show support for the gunning down, flirner
            Diaries style, of ii ylds. Ya know, most synagogues are under guarded.
            Lone Wolves should be targeting more of these. Stop wasting ammo on
            niggers and spics. Niggers and splcs shoot each other. No reason to kILL
            them unLess they move In next door, or date a White woman. No, we need
            to kilL more Jews.

            KILL MORE JEWS!!




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               Jews, rabbis, CEOs, bank presidents, corporate presidents, those who run
               the large investment firms and trans-nationaL corporations, etc.... These
               are the scum we need to kILL The lowLy nagger Is NOT a good target. if ya
               got to go to prison, go in for whacking Ii kikes. Go in for committing a
               mass mud church shooting. Get them I.one Wolf scores up, peopLe ii Its the
               Jews who run the world. KILL ThEM!! Its the shabbos goy CEOs and
               banking/Investment presidents who run the world. KILL THEMII It’s the
               chiefs of the various federal agencies and police departments that send
               the JOGITES and pigs out to murder and kidnap White Civil Rights
               activists. KILL THEM!! Those are the peopLe we need to target. Not the
               niggers. Not the faggots. NOll Walk into a synagogue and gun down 11.
               Jews and one rabbi. THATS how you make a difference, peopLeli

                So Let us raise a gLass to Richard Bowers and Learn from his Strike of
                Freedom. Let us take notes so we can increase the body count. Don~t go on
                a podcast and rant about some nigger and spic. Don’t hold a raLly with 5
                peopLe. Don’t wave your gun In the air without shooting anyone. No, go
                out there and KILL A FEW JEWS!!

               RAHOWA
               Rev. LLoyd, PM
               Church Of Ben Ktassen
               www.creativityreLigion.com

       45.     GPS location information for the cell phone of LLOYD, obtained via search

warrant, revealed that the phone was within an approximate four-mile or less proximity of

LLOYD’s residence on May 28, 2023.

       46.     On May 30, 2023, the Bowers trial began with opening statements.

       47.     On May 30, 2023, at 11:23 p.m., WPXI-TV in Pittsburgh published an article,

“Multiple people reportedly find anti-Semitic stickers, flyers at playground in Squirrel Hill.”

According to article, these stickers, some of which contained a swastika, were found earlier the

same day at the Wightman Park and Playground in the Squirrel Hill area of Pittsburgh. The article

referenced a REDDIT article where a user posted, “I’ve removed at least 15 Nazi stickers and fliers

so far.” Some comments on the post connected the stickers to the start of the Bowers trial. Another

user believed “Hardy Lloyd” was responsible. One user commented, “Saw one at a bus stop in
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Oakland today. It was scarier to see a swastika with the actual contact information for a hate group

than to just see a swastika. It sucks to think a group like that is publicly recruiting.”

       48.      On May 30, 2023, LLOYD sent the following email to various Pittsburgh news

outlets, including KDKA, WPXI, and the Pittsburgh Post-Gazette, and to others with email account

names apparently indicating adherence to the creativity movement:

        We have struck Pittsburgh and shall continue to pass out flyers until Richard
        Bowers, the great WHITE hero of Pgh, is freed. We shall also file for the names of
       the jury once it is over to make sure they voted the right way. If Bowers is not freed
       then we shall not only up our flyers, but also make PGH sorry. We cannot state
       what this is, of course. Don’t want to say anything NOT covered under the 1A. But
       just know that any guilty verdict could bring down the wrath of lone wolves in the
       region. Not saying we would directly do or plan anything. But know that lone
       wolves will do something, and we cannot prevent them, nor would we want to. Free
       this great WHITE hero! RAHOWA Pgh Congregation of the CoBK Contact this
                                             —                                   -


       email, Lisa’s email, or Reverend Lloyd’s email.

       49.     On May 30, 2023, LLOYD sent the following email to email addresses of

employees of the Pittsburgh City Paper:

       Our Church has been passing our flyers in Western PA and Ohio supporting
       Bowers. We are also going to file for the names and addresses of the jury once it’s
       over to check and see who voted against him. Which is legal to do in PA.

       Any questions?

       50.     GPS location information for the cell phone of LLOYD, obtained via search

warrant, revealed that the phone was within an approximate four-mile or less proximity of

LLOYD’s residence on May 30, 2023.

       51.     On May 31, 2023, the page on the online version of the Pittsburgh Post-Gazette

dedicated to coverage of the Bowers trial with several live updates included an article posted at

11:34 a.m. that morning titled, “Despicable to see’: Antisemitic flyers found in Squirrel Hill as

trial starts.” The article discussed the same stickers found at Wightman Park and Playground in

Squirrel Hill the day before. The article included a link to the REDDIT post from the day before,


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described above. The articles preceding and following the article described Bowers trial witness

testimony. The article was preceded seven minutes prior by an article titled, “Members of 2

different congregations testify about the shooting.” The article was followed 25 minutes later by

an article titled, “This one’s alive’: Survivor of the shooting describes being rescued from a

stairwell.”

            52.                 GPS information for LLOYD’s cell phone (the number listed in the Google

subscriber information), obtained pursuant to a search warrant issued by this Court, and license

plate reader information for LLOYD’s vehicle place LLOYD in the Pittsburgh area on the evening

of May 29, 2023, and in the early morning hours of May 30, 2023, as follows:

            Phone GPS Location Information (average radius of the pings is approximately 1395
            meters/U. 86 mile):


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                                                                                                   Legend

                                                                                                     2023-05-30

                                                                                                     202 3-05-29
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        License Plate Reader Information:

              a. Date: May 29, 2023, 3:39:06 PM; Camera: UNDERPASS LANES 2-3 Agh,
                 Oakland, 5th Aye, N Craig St, Pittsburgh Pedestrian Bridge, Underpass, Lane 2,
                 Lane 3
              b. Date: May 29, 2023, 3:41:50PM; Camera: CRAIG ST OUTBOUND AT 5TH Agh,
                 Oakland, 5th Aye, N Craig St, Pittsburgh Pedestrian Bridge
              c. Date: May 30, 2023, 2:19:44 AM; Camera: CRAIG ST OUTBOUND AT 5TH
                 Agh, Oakland, 5th Aye, N Craig St, Pittsburgh Pedestrian Bridge
              d. Date: May 30, 2023, 3:40:48 AM; Camera: CRAIG ST INBOUND AT 5TH Agh,
                 Oakland, 5th Aye, N Craig St, Pittsburgh Pedestrian Bridge
                    LLOYD Receives Subscriptions to His Email Newsletters
        53.      Between      May       2,       2023,   to    June       1,   2023,        the   email

ReverendL1oyd~creativityreligion.com, one of the emails associated with LLOYD’s website,

received 10 emails from email no-rep1y~editmysite.com with the subject line “New Form Entry:

Newsletter Form. Emails contained “Submitted Information: Your Email.”

         LLOYD Begins to Direct Online Comments toward Bowers Trial Witnesses

        54.      On June 2, 2023, LLOYD made a post to the “enemies” page of

creativityreligion.com, which included the following message:

               Members of Pittsburgh’s Jew community enter the FederaL courthouse in
               Pittsburgh for the first day of trial for Robert Bowers. May 30, 2023, in
               Pittsburgh. Taken from jew media. So, kind of funny. Lol BeLow are pics of
                                                                      -


               those who supported the jews during and after the so-called ~hooting~
               Most Live in the Pgh region, and a majority are probably jews. If you have
               the personal info on anyone pictured here please send to us so we can post
               it here. ALL pics taken from pubLicLy posted media posts.

        55.      The post included a photograph of individuals entering the Federal courthouse in

Pittsburgh for the Bowers trial, as well as a collage of photographs. The photographs in the collage

depict several victims and witnesses of Bowers’ attack (including “WITNESS 1,” discussed further

below) and first responders to Bowers’ attack, some of whom had already testified at the trial and

others who had not yet testified at the trial.




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           56.   OPS location information for the cell phone of LLOYD, obtained via search

warrant, revealed that the phone was within an approximate four-mile or less proximity of

LLOYD’s residence on June 2, 2023.

           57.   On June 2, 2023, the Jewish News Syndicate posted an article online about

LLOYD, including about his first May 30 email above, titled “White supremacist calls for

violence amid Pittsburgh trial for synagogue shooter.”

           58.   On June 2, 2023, the Cleveland Jewish News reposted the Jewish News Syndicate

article.

           59.   On June 3, 2023, LLOYD made a post to the “enemies” page of

creativityreligion.com. The post included a photograph of WITNESS 1, listed the first and last

name of WITNESS 1, and stated that WITNESS 1 was “of Squirrel Hill,” a suburb of Pittsburgh.

           60.   The post was made under the caption:

This page contains PUBLICLY GATHERED info, 90% off their own sociaL media accounts, of known
anti-White bigots and criminaLs. This info is posted, in keeping with US laws of Free Speech, for Lone
Wolves. It is NOT iLlegal to post this info, nor to say it is for Lone WoLves. US Law allows such speech.
This would ONLY be ilLegal if we caLled for actual direct action against them. We are simpLy re
posting their own pubLicLy posted info, and stating our OPINIONS for Lone Wolves. Which makes it
100% I.EGALH

           61.   GPS location information for the cell phone of LLOYD, obtained via search

warrant, revealed that the phone was within an approximate four-mile or less proximity of

LLOYD’s residence on June 3, 2023.

           62.   On June 4, 2023, an FBI special agent, who was assisting on the Bowers case but

not working in any way on this investigation, and in the absence of any request or prompting from

your affiant or any agent working on this investigation, notified WITNESS 1 and certain family

members of WITNESS 1 that WITNESS 1 was mentioned by an unnamed individual on his

website. WITNESS 1 was informed that the individual was on law enforcement’s radar and that

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the FBI was monitoring the situation. WITNESS 1 and certain family members of WITNESS 1

stated that this information worried them but that they were not going to change their lifestyle.

       63.       In the days following this post, WITNESS 1 testified at the Bowers trial

proceedings.

       64.       The same FBI special agent also notified some of the other witnesses who were

depicted in the collage of photographs contained in LLOYD’s June 2, 2023, post. In subsequently

documenting these notifications, the special agent stated that she had informed the witnesses that

the post “contained no threat” towards them.

         LLOYD’s Gmail Records Further Corroborate Residence at PREMISES

       65.      On June 7, 2023, Google produced emails from LLOYD’s Gmail account, as listed

in the records produced by Google in March 2023. The account contained a month-to-month lease

agreement for the PREMISES that LLOYD executed on March 30, 2022. The account also

contains receipts documenting LLOYD’s rent payments, including a payment on May 4, 2023.

         FBI Confidential Human Source Contacts LLOYD about BOWERS Trial

       66.      On June 13 and June 14, 2023, an FBI Confidential Human Source (“CHS”)

emailed LLOYD to solicit information on previous statements made by LLOYD. The CHS

initiated conversation with LLOYD stating, “Do you have any information about Robert Bowers

jurors yet? I’m ready to go hunting.” LLOYD responded with the following messages:

             a. “You must STOP requesting info on the BOWERS jurors, or else I must report this
                as a COINTELPRO entrapment case to the authorities in order to protect myself
                from someone either trying to entrap me, or someone about to do an illegal act. My
                attorney would also file on my behalf in the Western PA district of the federal court
                system in order to protect me from entrapment. STOP ASKING ME FOR
                ILLEGAL SHIT NOW OR ELSE THIS GETS REPORTED!! Ask one more time
                and my attorney calls the feds to report a case of entrapment! !“

             b. “I will never provide ANY info that may or may not be used for ANY illegal act! !“



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        c. “I therefore must ask you to stop requesting the names of the jurors in the bowers
           show trail from myself and from any member.”
        d. “I am not saying you are trying to entrap myself. But the constant requests are very
           strange!! Stop requesting.”

        e. “I have no intention ofpaying for ANY trial’s transcripts for personal info on jurors,
           cops, DAs and/or judges; which could be construed in court as a semi-illegal act.”

        f.   “I ain’t flying 2000 miles for info on a trial that I actually don’t follow.”

        g. “Listen, Brother, I do not live in PA, nor anywhere near PA.”

        h. “I have no intention of flying to Pgh, paying $100, and waiting 30 days for a FOIA
           request that ANY PERSON iN PA CAN DO.”

        i.   “I appreciate your desire to be active for your race. HOWEVER, I do find the
             incessant emails and hotline texts   rather odd.”
                                                 ...




        j.   “But why are you asking me, sometimes several times a day, for info I cannot
             possibly obtain?”

        k. “Now, nothing said has been illegal, and my responses have been very legal.”

        1.   “No reason to do anything so obviously illegal that another White Man goes down.”

        m. “If someone sends me info on the trial that can be publicly obtained, then I would
           post it on the website. However, since I don’t live anywhere near PA, and since we
           are pretty sure the records are sealed till the end of sentencing, we have zero
           BOWERS info to tell people.”

        n. “Right now asking a known WRL activist for info on a sealed trial could become
           an illegal act in and of itself. So don’t ask me.”

        o. “Also, I wouldn’t be able to say anyway, as I would have to fly to Pgh to openly
           request said documents.”

        p. “Posting for the world is legal, while sending an email to one person could be illegal
           as a possible crime.”




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             q.   “...the shooting happened in Allegheny county, and the trial is taking place there
                    county records should have this info. But, a judge sealed it until after either the
                trial or sentencing. So one has to wait till then to file for it.”
             r.   “...once in a Blue Moon someone will get a TRIAL TAMPERING charge for
                posting specific info on people from a trial.      this to me seems to violate the 1A.
                                                                 ...


                AND would have to be proven in court       ... even though the trial would be over
                thus no tampering could take place.”

             s. “But it did happen to a friend of [name], who did send out the names and address
                of one or two of his jurors. To me that’s public record.

             t.   “Yet with the BOWERS show trial, who knows?!? It is legal to request public
                  documents.”

             u.      posting that info online under the title of INFO RELATED TO THE BOWERS
                  “...


                  TRIAL should protect the poster. Especially if they are posting to the world
                  NOT     one person, which might be construed as a ‘possible criminal act’.”
                          ...




       67.        Based on my training and experience, I know individuals like LLOYD, who has

had dealings with law enforcement, might be aware that law enforcement officers utilize CHSs to

obtain incriminating evidence through contact with the target of an investigation. Based on the

aggressive approach of the CHS, I believe it is possible that LLOYD recognized the CHS

contacted him at the request of law enforcement to obtain incriminating evidence. This belief is

also based on LLOYD’s responses, which contained false exculpatory statements. For example,

LLOYD falsely stated that he resides nowhere near Pittsburgh or Pennsylvania, when this

investigation has revealed that he resides in Follansbee, West Virginia, which is approximately

45-minutes from Pittsburgh and approximately 12-minutes from the Pennsylvania state line. In

addition, LLOYD falsely stated that he does not follow the Bowers trial, yet this investigation has

revealed that he has been commenting online frequently about the trial for the past six weeks.

                         LLOYD Comments Online about Bowers Guilty Verdict

       68.        On June 15, 2023, the jury began its deliberations.



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          69.     On June 16, 2023, shortly before noon, the jury returned a verdict of guilty on all

counts.

          70.     On June 16, 2023, within a few hours of the verdict, LLOYD made the following

post to creativityreligion.com:

                 Pgh Must Pay!!

                 RAHOWA my White Brothers and Sisters
                ~*Ll, no surprise, but the jury in the Hero Bowers show trial just found Lone Wolf Warrior
                Bowers ‘guilty’ of fumigating 11 rats in Pgh. Welt I just found out from a caLl by our people in
                Pgh. So this could of happened hours ago? I call upon ALL members and supporters, as well
                as aLL WRLs, in the Tn-State of Western PA to SLAM Pgh, Buffalo and CleveLand with flyers
                and stickers. Smash that town to the ground. BURN, BABY, BURN!! LegalLy, of course.




                If you are a Lone Wolf who lives in PA, Ohio or Western NY I pray you take this out on
                random kikes?!? And if you do kill, make sure to do it smart, not emotional, and get away.
                Legally, of course.




                I also just heard that Pgh out of alL the towns in the Tn-State wiLl be RIPE for Lone WoLf
                Freedom strikes and fLyering this weekend (16th to 19th) for the foLlowing reasons:
                1) Taylor Swift concert. WouLdn’t it be nice if some LW shot it up??? Not that we would EVER
                suggest something so ‘iLLegat (Wink Wink) - Maybe just start a few fights inside the concert?
                See if you can get any negroes there to start attacking random Whites? Make sure to flyer
                the parking Lots, Legally, or course.
                2) Commies and feminists clash today. HopefuLly they kiLl oath other?
                3) Some celebration for a holiday I never heard of before. But it’s pro nigger. Wait, isn’t this a
                Texas only thing? I am confused. But a good idea to pass out anti -koon flyers or anti nigger
                TightRope stickers. He selLs some realLy funny anti-koon stickers. LOL
                4) Bowers Show TriaL...

                Make sure to slam Ohio, Western PA and Buffalo for the next two weeks. Just to show them
                fiLthy yids that there are consequences for persecuting White People. We pray LWs do the
                right thing. LegaLly, of course.




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                RAHOWA
                Rev. LLoyd, PM
                Church of Ben Kiassen
                www.creativityretigion.com


                PS: CCing Texas, Ohio and PA media.

       71.     Around the same time, LLOYD added the following message to the homepage of

creativityreligion.com:


                                 PITTSBURGH
                                     MUST
                                     BURN
                                    TO THE
                                  GROUND !!!
       72.     On June 18, 2023, LLOYD made a post on the “enemies” page of

creativityreligion.com that included the same photograph of WITNESS 1, the first and last name

of WITNESS1, and that WITNESS1 was “of Squirrel Hill.”

              LLOYD Comments Online about Penalty Phase of Bowers Trial

       73.     On June 26, 2023, the penalty phase of the Bowers trial began to determine whether

the death penalty will be imposed.

       74.     On June 27, 2023, LLOYD sent an email associated with his website, titled “If

Bowers Gets Death It’s Death To The Jew Race.” The content of the email was as follows:

       If Lone Wolf Hero Bowers is not freed, but instead gets death, then death shall fall
       upon the entire jew race in all countries. The peoples ofthe Earth have one common
       enemy, the vile jew!! We must unite and kill all jews. Lone Wolves, HAMAS, PLO,
       Skinheads, Bikers, Mestizo and Mexican Fascists, Japanese Nazis, Hindu
       Nationalists, Black Israelite’s, Muslims the world over, TARGET ALL JEWS till
       no jew remains on Earth. We can unite and wage glorious JIHAD upon these rats
       in human form.


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        DEATH TO ALL JEWS

       RAHOWA
       Rev. Lloyd, PM
       Church of Ben Kiassen
       www.creativityreligion.com

        75.   On July 13, 2023, the jury found Bowers eligible for the death penalty.

       76.    On July 16, 2023, LLOYD sent an email associated with his website, titled

“Bowers Leads by Example.” The content of the email was as follows:

       Well, I watched on Haystack App that Warrior Bowers was erroneously found
       ‘guilty’ on the death penalty phase of this farce. The good news is that synagogues
       remain easy targets, and Lone Wolves need to, nay, must attack these jew hangouts.
       Let’s see a BOWERS in every city in every country. Let’s see attacks against jews
       in Florida increase to drive home the point that no shabbos goy law will stop us.
       Pgh needs more anti-jew shootings. There are over 50,000 kike scum in that city.
       Well, 49,989 now. lol

        We need a TREE OF LIFE shooting every month until either the yids leave, or they
       get so many anti-White and anti 1A laws passed that even right-wing faggots start
       embracing Hitler. Remember, worse is better!! Let’s push the jews to pass more
        laws so we can recruit more people to openly shoot them. Also, passing out anti
       jew flyers aimed at negroes is also good, as black supremacists HATE jews more
       then they hate Whites. And let’s not forget to network with Arabs and Moslims
        [sic].

       The 21st Century needs to become the century when daily jew shootings and
       stabbings and clubbings become so common that no one will care. Then we can
       simply walk down the streets of, say Forbes Aye, killing every jew we see without
       a worry of having to then shoot some racist pigs, too. May this day come soon.

       77.    On or about July 17, 2023, LLOYD changed the front page of his website to ready

as follows:

                                       REMEMBER;
                                     Most Synagogues
                                     Have Zero Armed
                                    Guards Dress As A
                                             -

                                      3ew And Kill!!
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        78.          On July 16, 2023, LLOYD sent an email associated with his website, titled “Tree

Of Life ‘Victim’ Seen Alive In Squirrel Hill.” The content of the email was as follows:

        Well, the STAGED false flag ‘shooting’ at the so-called ‘Tree of Life’ yid building
        in Pgh’s Jew Hill seems to be unraveling now that the show trial of the mythical
       Bowers is nearing it’s end. Now, we WANT this ‘shooting’ to be real. We WANT
       people to kill jews on mass. We WANT more Bowers out there, dressing up as
       jews, going to temple, and then pulling out a gun and killing every filthy kike
       vermin they see. START SHOOTING JEWS NOW, DAMNIT!!

       However, we cannot find ANY only media accounts or posts, nor social media
       comments, from any BOWERS. Doing a PA search on BOWERS yields one
       woman and two men who are clearly NOT BOWERS. We can find ZERO
       EVIDENCE that BOWERS is a real person. Now, we WANT this to be true. And
       we are actively encouraging copy cat strikes by Lone Wolves. But like Sandy Hook,
       we see no actual evidence of a shooting that day. No shooting deaths are even
       recorded at the county coroner’s office!!

       We pray that BOWERS is a real person, and that this brave Warrior did this
       wonderful act of love for humanity. But we remain Sandy Hookish about it.
       Hopefully, as with the glorious Buffalo Strike of Bravery, we shall get more Tree
       Of Life ‘shootings’ on live-stream!?! We shall be uploading that awesome video
       soon. By Satan, we do love to watch that video every time we get together to go
       boot stomp some Austin faggots and niggers.

       Remember people of ALL RACES, the jews hate ALL PEOPLES the world over.
       Start killing jews, and start dressing up as jews to sneak into jew services so you
       can whack a whole bunch of these rats in human form. Let’s start networking with
       the Black Israelite Supremacists and the Moslims and the Turkish Nationalists and
       even the Cartels. Hell, the Mestizos want to push the jews out of the LA drug + sex
       trafficking trades. Let’s work WITH these other races so we can kill as many kikes
       as possible.

       START SHOOTING UP SYNOGUGES!!

       79.       On July 22, 2023, LLOYD sent an email associated with his website, titled “2

Dozen Cities Hit,” stating, in part, “Our members and supporters hit between 20-25 cities over the

last 72 hours.   .   ..“   LLOYD attached the following photograph to the email, which depicts some

of the same stickers found in Pittsburgh in May 2023:




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                          11’4~

                         10




       80.     On July 22, 2023, an individual submitted an online incident report to the Jewish

Federation Greater Pittsburgh regarding stickers that the individual found the same day, at

approximately 3:00 p.m., in the Stanton Heights area of Pittsburgh. The individual uploaded three

photographs, excerpted below:




                                                                      III




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       81.     GPS information for LLOYD’s cell phone, obtained pursuant to a search warrant

issued by this Court, places LLOYD in the Pittsburgh area on July 22, 2023, for the approximate

period of 12:22 a.m. to 4:28 a.m.

       82.     On July 28, 2023, LLOYD sent an email associated with his website, titled

“Stabbing Pgh, Shooting Austin.” In the email, LLOYD asked, “Will Bowers be avenged???”

and claimed, “Bowers is a fake persona created by the kikes for sympathy bollocks.”

       83.     On August 3, 2023, LLOYD posted the following on his website, VK, Telegram

and the email of individuals at the Jewish Chronicle:

       a. Telegram:

       “We Warned You, Pgh

       Warrior Bowers was to be freed, or else.
       Well, now y’all get the WHAT ELSE!!
       Lone Wolves on NY, PA and Ohio, target Western PA’s jews.
       Target the hell out of them.
       Do what you do best.
       Shed jew blood till none is left to spill!!

       Bowers showed us the way.

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     Time to follow him.
     Time to wipe the vile jewish paedophiles from the face of the Earth.
     Time to avenge 12,500 years ofjewish supremacy!!

     RAHOWA
     Rev. Lloyd, PM
     Church of Ben Klassen
     www.creativi reli ion.com


     PS: The above message is keeping with US Free Speech protection of general calls to
     violence. Not that we would give a toss if it was ‘illegal’. lol CC#64 gives us the RIGHT
                                                                                   -


     of JIHAD against ALL infidel enemies.”


     b. VK:

                Hardy Lloyd
                ‘15 minutes ago
       We Warned You, Pgh

       Warrior Bowers was to be freed, or else.
       Well, now y’all get the WHAT ELSE!!
       Lone Wolves on NY, PA and Ohio, target Western PA’s Jews.
       Target the hell Out of them.
       Do what you do best.
       Shed jew blood till none is left to spill!!

       Bowers showed us the way.
       Time to follow him.
       Time to wipe the vile jewish paedophiles from the face of the Earth.
       Time to avenge 12.500 years of jewish supremacy!!

       RAHOWA
       Rev. Lloyd, PM
       Church of Ben Klassen
       www creat v tyre igion.com

       PS: The above message is keeping with US Free Speech protection of general calls
       to violence. Not that we would give a toss if it was ‘illegal’. 101 - CC#64 gives us the
       RIGHT of JIHAO against ALL infidel enemies.



                                  JIM        CAVIEZEL




         Home Page
         creativityreligion.com


        c2        ~
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             Website:

       B CHURCH OF BEN                                                WELCOME TO THE
                                                                      CHURCH OF BEN
                                                                      KLASSEN

                                                                              Warrior Bowers
                                                                       We Warned You, Pgh!! Now Feel
                                                                          The Wrath Of Lone Wolf
                                                                                Attacks!!
                                                                          But first, go see SOUND OF
                                                                        FREEDOM, a film talking about
                                                                       jewish sex slave trade. Then you
                                                                          die after buying the ticket.

                                                                                JIM   CAVIEZEL




     84.     On August 8, 2023, LLOYD issued a new post to his VK and Telegram Accounts

     titled “Murder Retaliation Against Alabama Negroes.” In the post, LLOYD also shared plans

     to target two random members of the Jewish community in Pittsburgh and two in Austin. The full

     post on Telegram read as follows:

      Murder Retaliation Against Alabama Negroes

      5-10 random niggers in Alabama will be targeted in retaliation for
      that anti-White hate attack. Also, 2 random jews/niggers in Austin
      and 2 in Pgh will also be randomly targeted. Anti-White HATE has
      consequences. For every one White attacked or shown bigotry
      we shall target 2-4 random jews, niggers and/or tranny freaks.
      These random targets will most likely be in Texas and PA/Ohio.
      But will also occur in the cities/states of the anti-White HATE. By
      Lone Wolves, NOT by members of the COBK.

      WINK
      WINK

      DO NOT FUCK WITH US!!


      RAHOWA
      Rev. Lloyd, PM
      Church of Ben Klassen
      www creativityreligion.com

      PS: The above is protected under the 1A as a general call to
      violence.                                              2 ~ 11:29




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                                        CONCLUSION

     85.      Based on the forgoing, there is probable cause that—

           a. Beginning in or about at least May 2023 and continuing through in or about June

              2023, in Brooke County, in the Northern District of West Virginia, and elsewhere,

              the defendant, HARDY CARROLL LLOYD, did corruptly endeavor to influence,

              obstruct, and impede the due administration ofjustice in United States ofAmerica

              v. Robert Bowers, Criminal No. 18-292, in the United States District Court for the

              Western District of Pennsylvania by engaging in threatening conduct directed at the

              jury and government witnesses, as described more herein, in violation of 18 U.S.C.

              § 1503(a).
           b. On or about May 19, 2023, in Brooke County, in the Northern District of West

              Virginia and elsewhere, the defendant, HARDY CARROLL LLOYD, did

              knowingly transmit in interstate and foreign commerce an email communication

              over the Internet containing a threat to injure the person of another, specifically the

              email with the subject line “Ouch,” as further described above, in violation of 18

              U.S.C. § 875(c).

           c. On or about June 2, 2023 and June 3, 2023, in Brooke County, in the Northern

              District of West Virginia, the defendant, HARDY CARROLL LLOYD, did

              knowingly attempt to intimidate, threaten, and corruptly persuade WITNESS 1 by

              making the posts to the “enemies” page of his website, as further described above,

              with the intent to influence, delay, and prevent the testimony of WITNESS 1 in an

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            official proceeding, specifically the trial being conducted in United States of

           America v. Robert Bowers, Criminal No. 18-292, in the United States District Court

            for the Western District of Pennsylvania.

     86.    Accordingly, I request that the Court issue the proposed arrest warrant.

                                                     Respectfully submitted,



                                                     Matthew Messich
                                                     Special Agent
                                                     Federal Bureau of Investigation


     Subscribe.   .   d sworn to before me on   ugust 9, 2023.



                 JAMES P. MAZZONE
            JSTATES MAGISTRATE JUDGE




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